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    COMBAT ARMS SETTLEMENT AGREEMENT FOR WAVE CASES MASTER
                   SETTLEMENT AGREEMENT III

        This Settlement Agreement for Wave Cases (the “Wave Settlement” or “MSA III”) dated
August 29, 2023, between (1) 3M Company (“3M”) and Aearo Technologies LLC, an acquired
subsidiary of 3M, along with 3M Occupational Safety, Aearo Holding LLC, Aearo Intermediate
LLC, and Aearo LLC, collectively (“Aearo”), and along with 3M, collectively (“Defendants”);
and (2) the undersigned Leadership in In re Combat Arms Earplug Products Liability Litigation,
MDL No. 2885, U.S.D.C. for the Northern District of Florida (“MDL Court”); and (3) the
undersigned Leadership in the Minnesota coordinated state court action pending in the 4th Judicial
District, County of Hennepin, Minnesota, File No. 27-CV-19-19916 (“MN Court”), collectively
the “Negotiating Plaintiffs’ Counsel” (“NPC”). Defendants and the NPC are each a “Party,” and,
together with the NPC, are the “Parties.”

        The Wave Settlement is reached in accordance with Article 2 of the Parties’ Master
Settlement Agreement (“MSA”) which states that that “[t]he Parties agree that the Verdicts and
Wave Cases shall be resolved in accordance with MSA II and MSA III.” The Wave Settlement
confirms that Defendants will settle and fully resolve, to the greatest extent possible, the existing
Wave Cases against Defendants which are related to, arise from, or are in any way connected to
CAE. In the event of a conflict between the MSA and the Wave Settlement, the Wave Settlement
shall control.

                                            RECITALS

        A.      The Parties have concluded that, given the facts and circumstances of the CAE
Claims, including the claims asserted and the legal and factual defenses thereto, it is in the Parties’
best interests to enter into the Wave Settlement to avoid the uncertainties, burdens, and risks of
new and continued litigation of the Wave Cases. The Parties further concluded that, based on,
among other things, the number of CAE Claimants that exist and that the Parties believe will
participate in the Wave Settlement, the Wave Settlement is fair, reasonable, and adequate.

       B.     Nothing in the Wave Settlement will be construed as evidence of, or as an
admission by, Defendants of any fault, liability, wrongdoing, or damages whatsoever.

       The Parties hereby agree as follows:

                                           ARTICLE 1
                                          DEFINITIONS

       Section 1.1     Definitions

       All capitalized terms have the same meaning as set forth in Article 1 of the MSA. Terms
separately defined in the Wave Settlement shall have the same meaning as set forth herein.

        Wave Cases: The CAE Claims the MDL Court and the MN Court identified for pre-trial
discovery work-up prior to the Settlement Date listed on Exhibit 1. For avoidance of doubt, any
such case previously dismissed with prejudice is not a Wave Case. The Parties agree that the entire
list of Wave Cases is listed on Exhibit 1.
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      Wave Case Claimants: Eligible Claimants that filed the Wave Cases in the MDL Court or
the MN Court.

      Wave Case Counsel: CAE Counsel with an Interest in any Wave Case or Wave Case
Claimant.

                                    ARTICLE 2
                           SETTLEMENT OF THE WAVE CASES

       Section 2.1    Wave Cases

       The Parties agree that the Wave Cases shall be resolved in accordance with the Wave
Settlement which expressly sets forth the terms and conditions of resolution for those cases.

       Section 2.2    Impact of Walkaway Rights in the MSA

        In the event that Defendants exercise the 98% Walkaway Right in Section 7.1.1 of the
MSA or Plaintiffs exercise their Walkaway Right in Section 7.2 of the MSA, the Parties shall
nonetheless be bound by the Wave Settlement, including the obligation for Defendants to make
payments to the QSF as set forth in Section 12 of the Wave Settlement in exchange for Releases
for Wave Cases, provided the conditions set forth in the Wave Settlement are fulfilled. For the
avoidance of doubt, if Defendants exercise the Wave Walkaway Right set forth in Article 11 of
the Wave Settlement and in Section 7.1.2 of the MSA, the Wave Settlement shall be null and void
consistent with Section 11.3 below.

                                      ARTICLE 3
                               ADMINISTRATIVE EXPENSES

       Section 3.1    Administrative Expenses

        The Settlement Administrator and the Settlement Special Master of the Wave Settlement
shall be the Settlement Administrator and Settlement Special Master specified in the MSA.
Defendants shall not be responsible for any administrative expenses other than those set forth in
Article 3 of the MSA.

                                     ARTICLE 4
                         IDENTIFICATION OF THE WAVE CASES

       Section 4.1    Compliance with the MSA Identification Order

        As described in the Identification Order requirements set forth in Section 4.1 of the MSA,
Wave Case Counsel that are Primary Counsel for a Wave Case shall, as part of the MSA process,
identify on their Identification Order Declarations all Wave Cases for which they are Primary
Counsel. Pro se litigants with Wave Cases shall identify their Wave Cases.

        Section 4.1.1 All Wave Cases must continue to comply with all MDL Court or MN Court
orders concerning the timely production of complete census and DD214 forms or plaintiff fact
sheets, as provided by those court orders. Wave Cases are not relieved of the obligations set forth

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in the MDL Case Management Order #57 and/or the MN Court’s Case Management Order
Governing Ongoing ad Future Litigation Against Defendants by nature of their inclusion on any
Identification Order Declaration or by appearing on Exhibit 1 to the Wave Settlement.

        Section 4.1.2 Failure by Wave Case Counsel or a pro se litigant to comply with the
Identification Order shall subject Wave Case Counsel or the pro se litigant to potential sanctions
by either the MDL Court or the MN Court or both. Pursuant to MSA Section 4.1.7, any Wave
Case not identified in an Identification Order Declaration in response to the Identification Order
shall be subject to being dismissed with prejudice by the MDL Court or the MN Court.

       Section 4.1.3 Wave Case Counsel and pro se litigants with Wave Cases shall have an
ongoing duty to update the Identification Order Declaration if and when, for example, an
individual’s personal information is incorrect or outdated.

                                        ARTICLE 5
                                     WAVE CASES POOL

       Section 5.1    Eligible Claimants for Wave Cases Pool Report

        The “Wave Cases Pool” is the universe of Wave Cases. Any Wave Case listed in Exhibit
1 is included in the Wave Cases Pool for purposes of calculation of the Wave Case Participation
Level defined in Article 8.

       Section 5.2    Treatment of Wave Cases Currently Dismissed Without Prejudice

        Eligible Claimants who had their Wave Case selected to be part of the MDL or MN wave
or bellwether process, and whose claims were dismissed without prejudice and not refiled, prior
to the execution of the Wave Settlement, are not Wave Cases and or eligible for participation in
the Wave Settlement Agreement. Whether those claimants are eligible for participation in the
Settlement Program set forth in the MSA is determined by the MSA.

       Section 5.3    Wave Cases Pool Report

        The Settlement Administrator shall review the Wave Cases listed on Exhibit 1 and the
information provided in response to the Identification Order of the MSA to create a complete and
de-duplicated list of Wave Cases. The Settlement Administrator shall provide a report (“the Wave
Cases Pool Report”), within 15 days of the Reference Date of the MSA to the MDL PEC, MN
Leadership, and Defendants. The Wave Cases Pool Report will further include the information
submitted on the Identification Order Declaration for each Wave Case. For the avoidance of doubt,
if the Wave Cases Pool Report is under-inclusive to the extent that Wave Cases that should have
been included on the Report were omitted, the Wave Cases Pool Report may be revised by
agreement of the Parties. The Settlement Administrator shall provide the MDL Court, the MN
Court and the Parties with a copy of the Wave Cases Pool Report, and any amendments or updates
thereto.

       Section 5.4    Challenges to the Wave Cases Pool Report



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        The NPC or Defendants may challenge the contents of the Wave Cases Pool Report,
including that such report either includes cases that are not Wave Cases or fails to include Wave
Cases or both. Such challenge shall be made in writing to the Settlement Special Master and served
on the NPC and Defendants within five (5) days of the issuance of the Wave Cases Pool Report.
Any Party that opposes the challenge may file a response within five (5) days of such challenge.
The Settlement Special Master shall review any such challenge and issue a determination, which
may include amending the Wave Cases Pool Report, within 5 days of such response. The
determination by the Settlement Special Master shall be final, binding, and not subject to any right
to further review by any party. In the event that such a challenge is lodged, the date for Wave
Case Registration in Article 6 shall be extended by the number of days required to lodge and
resolve the challenge.

                                          ARTICLE 6
                                        REGISTRATION

       Section 6.1     Wave Case Registration

       To receive the benefits of the Wave Settlement, Wave Case Claimants and their CAE
Counsel must comply with the provisions set forth in this Article. Registered Wave Cases do not
have to submit the Registration Form required by Section 5.2 of the MSA.

       Section 6.2     Wave Cases Registration

       To access the benefits of the Wave Settlement, Wave Case Claimants and their Wave Case
Counsel must complete and submit to the Settlement Administrator a “Wave Case Registration
Form”, attached as Exhibit 2 to the Wave Settlement, including a full and final Release (a template
for which is attached at Exhibit 3), a stipulated Dismissal with Prejudice (a template for which is
attached at Exhibit 4), and all required signatures and attachments.

       Wave Case Claimants who comply with and complete the Wave Case Registration Form
become “Registered Wave Cases”. For the avoidance of doubt, only Wave Cases may be
Registered Wave Cases, inclusion on Exhibit 1 or an Identification Order Declaration does not
guarantee that a Wave Case is a Registered Wave Case, and Wave Cases included by mutual
agreement of the Parties may be Registered Wave Cases.

       Section 6.3     Wave Case Registration Form

       The Wave Case Registration Form, which is attached as Exhibit 2, shall provide
information to Wave Case Claimants about the benefits of the Wave Settlement and the
consequences of failing to register, and shall require each Wave Case Claimant and Wave Case
Counsel to provide:

      Section 6.3.1 Identifying information about the Wave Case Claimant and his/her/their
Wave Case Counsel, similar to that which is required in an Identification Order Declaration;

       Section 6.3.2 An election as to whether the Wave Case Claimant wishes to participate in
the Wave Case settlement program set forth in the Wave Settlement; and if so elected, such
information as is necessary to participate in the Wave Case settlement program;
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      Section 6.3.3 Materials in the form of a claims package with relevant information about
the Wave Case Claimant’s CAE Claims;

        Section 6.3.4 A full and complete Release, in the form set forth in Exhibit 3, to (without
limitation) release, indemnify, and hold harmless each Released Party. If the Release is signed by
a duly and lawfully appointed representative of the Wave Case Claimant, said representative must
indicate on each document his/her/their relationship to the Wave Case Claimant and the authority
upon which he/she/they is permitted to sign the document on the Wave Case Claimant’s behalf
(e.g., guardian, executor or administrator of the Estate of Wave Case Claimant, etc.) and attach
proper documentation (e.g., power of attorney, letters of administration, small estate affidavit or
other state law equivalent) authorizing him/her/them to act in this representative capacity.

        Section 6.3.5 For all Wave Cases, a stipulated Dismissal with Prejudice, in the form set
forth in Exhibit 4, which shall be filed in the appropriate court after Defendants have made the
payment set forth in Section 12.2.

        Section 6.4     Survival and Wrongful Death Claims

        Section 6.4.1 For purposes of completing a Wave Registration Form, a beneficiary,
recognized under state law, of the deceased Wave Case Claimant may initially execute the Wave
Case Registration Form. In the event that the allocation to the deceased Wave Case Claimant is
$75,000 or more, the Release shall not be effective until executed by a representative for the
deceased Wave Case Claimant appointed in accordance with applicable state law. For any
deceased Wave Case Claimant who will receive less than $75,000, the Release shall be effective
if signed by all beneficiaries identified in a family settlement affidavit or the representative satisfies
the small estate administration rules consistent with applicable state law. Moreover, in the event
of a substitution of parties under Rule 25, Federal Rules of Civil Procedure and Minnesota Rules
of Civil Procedure, such new party shall be entitled to Register and participate in the settlement as
if the deceased Wave Case Claimant were still alive.

        Section 6.4.2 If required by applicable state law, a Wave Case Counsel or other authorized
agent will seek court approval of the settlement of the case brought on behalf of a decedent or
others authorized under applicable state law to advance survival or wrongful death claims, and will
obtain any additional Releases or documentation required. Wave Case Counsel will assume
responsibility for all necessary filings relating to notice and approval of the settlement and the
Wave Case Claimant or his/her/their representative will be responsible for all associated costs and
expenses.

        Section 6.5     Bankruptcy or Other Documents

        To the extent any Wave Case Claimant has received any funding or other consideration
from any third party, including any private litigation funding, such Wave Case Claimant shall
represent and warrant, and by executing the Release does represent and warrant, that such third
party has no lien or other claim that can be asserted against any of the Released Parties or the QSF
or any portion thereof. Each Wave Case Claimant shall agree, and by executing the Release does
agree, that he or she will indicate on his or her Wave Case Registration Form whether a bankruptcy
action is currently pending in which he or she is seeking bankruptcy protection. Wave Cases

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Claimants subject to any bankruptcy court proceeding or jurisdiction will be responsible for
resolving any issues arising from the bankruptcy before any Payment under the Wave Settlement
may be made to such Wave Case Claimants.

       Section 6.6     Additional Information

        The Settlement Administrator may request additional information or communicate with
Wave Case Counsel, Wave Case Claimants in conjunction with Wave Case Counsel, or pro se
litigants with Wave Cases concerning any questions that may arise in this process and/or to request
additional information or documentation from any Registered Wave Case Claimants.

       Section 6.7     No Punitive Damages

        By submitting a Wave Case Registration Form and submitting a Release, each Wave Case
Claimant waives the right to receive any punitive damages pursuant to the Wave Settlement, and
each Wave Case Claimant understands and agrees that no settlement payment paid hereunder is,
or shall deemed to be, attributable to punitive damages.

       Section 6.8     No Waiver

       For the avoidance of doubt, the failure of Defendants to object to a Wave Registration Form
under this section does not alter the requirement that the Wave Case Claimant and Wave Case
Counsel comply with all aspects of the Wave Settlement.

       Section 6.9     No Withdrawal of Registration Forms

        Submission of a Wave Case Registration Form electing to participate in the Wave
Settlement is irrevocable; provided, however, if Defendants exercise the Wave Walkaway Right
set forth in Article11, all such Releases shall be destroyed by the Settlement Administrator and are
null and void. No Wave Case Claimant may under any circumstances or for any reason withdraw
a Wave Case Registration Form, request the return of his/her Release or dismissal with prejudice,
or otherwise withdraw from the Wave Settlement. By submitting a Wave Case Registration Form,
a Wave Case Claimant agrees to end all litigation activity against Defendants, consistent with the
terms set forth in the Release.

       Section 6.10 Obligation of Wave Case Counsel

        By the submission of a Wave Case Registration Form by a Wave Case Claimant or by
Wave Case Counsel on behalf of a Wave Case Claimant, all Wave Case Counsel that have an
Interest in such Wave Case agree to be bound by all of the terms and conditions of the Wave
Settlement and the MSA, including the provision in Section 5.6 and Article 8 (defining the
obligations of CAE Counsel). The Wave Case Registration Form shall specify the obligations set
forth in the MSA and notify all Wave Case Claimants and their Wave Case Counsel of those
obligations.




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                                       ARTICLE 7
                                   REGISTRATION DATE

       Section 7.1    Initial Wave Case Registration Date

        The initial deadline for submission of Wave Case Registration Forms shall be three (3)
months from the Reference Date established by the MSA. Such deadline shall be called the Initial
Wave Case Registration Date. The Wave Case Registration Date may be extended by agreement
of the Parties.

       Section 7.2    Notification of Unregistered Wave Cases

      Within 15 days following the Initial Wave Case Registration Date, the Settlement
Administrator:

      Section 7.2.1 Shall notify the Parties, the MDL Court, and the MN Court of the total
number of Wave Case Claimants known as of the date of the notification that have failed to submit
a Wave Registration Form (including all required attachments), the identities of such Wave Case
Claimants, and their Wave Case Counsel.

         Section 7.2.2 Shall notify Wave Case Claimants that have not registered that, if they do
not register, they will not be able to benefit from the Wave Settlement and shall be required to
fulfill obligations under MDL CMO # 57 and the MN Case Management Order Governing
Ongoing and Future Litigation Against Defendants, including, as required by those orders, meeting
with the MDL Court or MN Court.

        Neither the Settlement Administrator, Defendants, nor the NPC shall have any liability for
any failure of the Settlement Administrator to give any notice to Wave Cases Claimants described
in Section 7.2.2.

       Section 7.3    The Final Registration Date

       Wave Case Claimants who do not register by the Initial Wave Case Registration Date, but
who change their mind following notice from the Settlement Administrator and/or a meeting with
the MDL Court or the MN Court and submit a Wave Case Registration Form shall be treated as
Registered Wave Cases. The date 60 days after the Wave Case Registration Date shall be the Final
Wave Case Registration Date, unless extended by agreement of the Parties.

       Section 7.4    Waiver of Defects

       Defendants, in their sole discretion, may waive or direct the Settlement Administrator to
waive any defect in a submission of a Wave Case Registration Form at any point. Any such waiver
by Defendants must be in writing and served on the NPC.

       Section 7.5    Consequence of Failure to Register




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        Wave Cases who have not registered by the Final Registration Date shall not be eligible to
participate in the Wave Settlement unless Defendants, in their sole discretion, agree to waive this
requirement on a case-by-case basis.

        Wave Cases who do not Register and who fail to comply with the orders of the MDL Court
or the MN Court (including failing to meet with the MDL Court or the MN Court pursuant to
orders issued by those courts) shall be subject to dismissal with prejudice.

       Section 7.6    Escrow Pending Payment by Defendants

        Releases and stipulated Dismissals with Prejudice provided as part of the Wave Case
Registration process shall be held in escrow by the Settlement Administrator, until Defendants
have made the payment set forth in Section 12.2. Defendants shall have access to such Releases
and may review them at any time. Within ten (10) days of Defendants making the payment set
forth in Section 12.2, such Releases shall be provided to Defendants, and the stipulated Dismissals
with Prejudice shall be filed jointly by Wave Case Counsel (or a pro se Wave Case Claimant) for
each Wave Case and Defendants.

                                     ARTICLE 8
                           WAVE CASE PARTICIPATION LEVEL

       Section 8.1    Calculation of the Wave Case Participation Level

        The Wave Case Participation Level shall be calculated by the Settlement Administrator
following the Final Wave Case Registration Date and used to determine Defendants’ payment
obligations and whether Defendants possess the Wave Walkaway Right set forth in Article 11 of
this Wave Settlement and Section 7.1.2 of the MSA.

       Section 8.2    Calculation of Wave Cases Participation Level

       The Wave Case Participation Level is intended to account for the percentage of Wave
Cases resolved as a percentage of the total number of Wave Cases. The Wave Case Participation
Level shall be calculated in accordance with Exhibit 5, attached hereto.

       Section 8.3    Report of Wave Cases Participation Level

        Within fifteen (15) days of the Final Wave Registration Date (including any extensions
thereof), the Settlement Administrator shall notify the NPC, Defendants, the MDL Court, and the
MN Court of the total number of Wave Case Claimants who have failed to Register, the identities
of such Wave Case Claimants, and their Wave Case Counsel, as well as providing a calculation of
the Wave Case Participation Level.

        Until directed by the Parties, the Settlement Administrator shall recalculate the Wave Case
Participation Level weekly and, each week, shall notify the MDL PEC, MN Leadership,
Defendants, the MDL Court, and the MN Court of the total number of Wave Cases who have failed
to Register, the identities of such Wave Case Claimants, and their Wave Case Counsel, as well as
providing a calculation of the Wave Case Participation Level.


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       Section 8.4     Challenge to Calculation of the Wave Case Participation Level

        The NPC or Defendants may challenge the Settlement Administrator’s calculation of the
Wave Case Participation Level within ten (10) days of being provided notice of the Wave Case
Participation Level. Within ten (10) days of such challenge, any Party opposing such challenge
may file a response. The Settlement Special Master shall review any such challenge and issue a
determination within 10 days of such response. The determination by the Settlement Special
Master shall be final, binding, and not subject to any right to further review by any Party.

                                     ARTICLE 9
                             SETTLEMENT ADMINISTRATION

       Section 9.1     Settlement Administration

        Settlement and claims administration related to the Wave Cases shall be conducted in
accordance with Article 9 and Article 13 of the MSA, including provisions of the MSA concerning
the resolution of healthcare and other liens.

                                    ARTICLE 10
                         PAYMENT TO REGISTERED CLAIMANTS

       Section 10.1 Payments to Registered Claimants

       Upon submitting a Wave Registration Form (including all required attachments), each
Wave Case Claimant has made the decision to forego continued litigation, and to be part of the
settlement program set forth in the Wave Settlement (the “Wave Settlement Program”).

       Section 10.1.1 Submission of the Wave Registration Form (i) is irrevocable; (ii) binds the
Registered Wave Claimant submitting the forms to the terms and conditions of the Wave
Settlement; and (iii) constitutes affirmative acceptance of the jurisdiction of the Special Settlement
Master and the MDL Court (or the MN Court, for cases pending in the MN Court) for all matters
and decisions related to this Agreement.

        Section 10.1.2 The Settlement Administrator shall make all required certifications set forth
in Article 9 and 13 of the MSA prior to payment.

        Section 10.1.3 To the extent that a Wave Case Claimant is deceased or in an active
bankruptcy and authorization to sign the Release is delayed pending resolution of the issues set
forth in Section 6.4 (for deceased claimants) or in Section 6.5 (for Wave Case Claimants in active
bankruptcy), such Wave Case Claimants shall be allocated funds as part of the Wave Case
Settlement Program, but such funds shall not be paid to such Wave Case Claimants until a fully
executed Release is received and stipulated Dismissal with Prejudice is filed.

                                    ARTICLE 11
                         DEFENDANTS’ WAVE WALKAWAY RIGHT

       Section 11.1 Wave Walkaway Right


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      Defendants shall have a Wave Walkaway Right if the Wave Participation Level is less than
the Wave Walkaway Participation Threshold set forth in Confidential Exhibit 6.

       Section 11.2    Timing of Wave Walkaway Right

      Defendants may exercise their Wave Walkaway Right within thirty (30) days of the Final
Wave Registration Date, unless extended by the agreement of the NPC and the Defendants.

       Section 11.3 Effect of Exercise of Wave Walkaway Right

       If Defendants exercise their Wave Walkaway Right,

        Section 11.3.1 Defendants shall have no obligation to make payments under the Wave
Settlement or under the MSA, as set forth in Section 7.1.2 of the MSA, except for the
administrative expenses in Article 3 of the MSA and the payment in exchange for Releases related
to the Expedited Payment Program set forth in Section 11.1 of the MSA. For the avoidance of
doubt, exercise of the Wave Walkaway Right shall not affect the payments in exchange for
Releases of Verdict Cases provided as part of the Verdicts Settlement.

        Section 11.3.2 All Releases of Wave Case Claimants and stipulated Dismissals with
Prejudice of such Wave Case Claimants shall be destroyed by the Settlement Administrator and
are null and void.

       Section 11.4 No Effect from Exercise of Other Walkaway Rights

        Neither exercise by the Defendants of their 98% Walkaway Right in Section 7.1.1 of the
MSA or exercise by the NPC of the Plaintiffs’ Walkaway Right in Section 7.2 of the MSA shall
affect the Parties’ obligations under the Wave Settlement, including the obligation for Defendants
to make payments to the QSF set forth in Article 12 in exchange for the release from escrow of
the Releases and stipulated Dismissals with Prejudice of the Wave Cases.

                                   ARTICLE 12
                       PAYMENTS TO BE MADE BY DEFENDANTS

       Section 12.1    Conditions on Payment

        Defendants shall have no obligation to make payments under the Wave Settlement unless
and until the Wave Case Participation Level meets the Wave Participation Requirement set forth
in Confidential Exhibit 6. In the event that the Defendants’ Wave Walkaway Right has expired,
but the Wave Participation Level has not reached the Wave Participation Requirement agreed to
in Confidential Exhibit 6, the Parties may meet and confer to consider the option, solely if there is
agreement by the Parties, to amend this Wave Settlement.

       Section 12.2 Payment Upon Satisfaction of Conditions

       Within twenty-one (21) days of the date the Wave Case Participation Level is calculated
to meet the Wave Participation Requirement, Defendants shall pay $253,100,000.00 to the QSF.


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       Section 12.3   Releases and Dismissals with Prejudice

       Upon Defendants’ payment pursuant to Section 12.2, the Wave Case Releases and
Dismissals with Prejudice will be released from escrow. Wave Case Counsel (or pro se Wave
Case Claimants) and Defendants shall jointly file the Dismissals with Prejudices in such Wave
Cases.

                                ARTICLE 13
             LIMITATIONS ON DEFENDANTS’ FUNDING OBLIGATIONS

       Section 13.1 No Additional Funding

        Any term of the Wave Settlement to the contrary notwithstanding, Defendants shall have
no financial obligation under the Wave Settlement other than its express obligations to make the
Payment as described in Section 12.2. Defendants shall have no obligation to pay (or to make any
Payment on account of) or reimburse any Registered Wave Claimant or Wave Case Counsel for
any costs or expenses incurred by such Registered Wave Claimant or Wave Case Counsel in
connection with the Wave Settlement. The Defendants shall have no responsibility for the
management of any of the escrow funds or any liability to any Registered Claimant arising from
the handling of claims by the Special Master and/or the Settlement Administrator or for the costs
of the Special Master or Settlement Administrator (beyond the amount set forth for administrative
expenses in Article 3 of the MSA).

                                        ARTICLE 14
                                     ATTORNEYS’ FEES

       Section 14.1 Individual Counsel Attorneys’ Fees

        Wave Case Counsel’s attorney-client fee agreements shall not be infringed or encroached
upon by the Wave Settlement and attorneys’ fees shall be handled in accordance with all applicable
ethical requirements.

       Section 14.2 Common Benefit Fund

        Work performed and expenses incurred for the benefit of all CAE Claimants as defined
more fully in the MDL Court’s Common Benefit Orders and the MN Court’s Common Benefit
Orders shall be paid from the Common Benefit Fund. Payments are subject to procedures set in
place by the MDL Court and/or the MN Court now or in the future. The Common Benefit
Assessment as set forth in the MDL Court’s Orders and the MN Court’s Orders in place now or in
the future shall be held back by the QSF Administrator on a per Registered Wave Case Claimant’s
basis with payments due to the Common Benefit Fund by QSF Administrator on a quarterly basis.
QSF Administrator must provide proof of compliance to the Settlement Special Master, the MDL
PEC, MN Leadership, the MDL Court, and the MN Court with the Common Benefit Orders.

       Section 14.3 No Additional Payments by Defendants




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        For the avoidance of doubt, Defendants shall have no obligation to pay additional sums for
attorneys’ fees or costs, beyond the amount set forth in Section 12.2 of the Wave Settlement, and
all such claims for attorneys’ fees or costs are released by released by Registered Wave Claimants.

                                         ARTICLE 15
                                       MISCELLANEOUS

       Section 15.1 Tax Consequences

       Neither Wave Case Claimants nor Defendants (nor Wave Case Counsel or Defendants’
Counsel) makes any representation regarding the tax consequences of this settlement. All
payments provided for herein constitute damages on account of personal physical injuries and/or
physical sickness, within the meaning of Section 104(a)(2) of the Internal Revenue Code of 1986,
as amended.

       Section 15.2 No Presumption as to Drafting

        The Wave Settlement is the product of arm’s-length negotiations between counsel and/or
parties represented by counsel. No Party shall be deemed to be the drafter of the Wave Settlement
or any provision thereof. No presumption shall be deemed to exist in favor of or against any Party
as a result of the preparation or negotiation of the Wave Settlement.

       Section 15.3 Not Affected by Change In Law

       The Wave Settlement shall be binding on the Parties regardless of any change in the law
that might occur after the date NPC and Defendants execute the Wave Settlement.

       Section 15.4 Entire Agreement

        The Wave Settlement and all exhibits hereto constitute the entire agreement between NPC
and Defendants with respect to the subject matter of the Wave Settlement, and there are no other
written or oral agreements, understandings, or arrangements except as set forth herein (including
references to the MSA). The Wave Settlement supersedes and replaces any prior agreement or
writing between the Parties. The Parties understand, agree, and acknowledge that no promises,
representations, understandings, or warranties have been made by any party or relied upon as an
inducement for entering into the Wave Settlement, except as contained herein, and that the Wave
Settlement constitutes the full statement of any agreement between the Parties. The terms of the
Wave Settlement may not be modified or waived except in writing, signed by the Parties hereto.
The Parties hereby acknowledge that they have read the Wave Settlement and had an opportunity
to obtain the advice of competent counsel of their choosing regarding it. As such, the Parties hereby
also acknowledge that they understand the terms of the Wave Settlement, and that they freely and
voluntarily sign and enter into it. The Parties further acknowledge that, in entering into the Wave
Settlement, they have not relied upon any statement or representation by or on behalf of the other
Party, except as stated herein.

       Section 15.5 Governing Law



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       This Agreement is a private agreement. The substantive laws of the State of New York
shall govern the validity, construction, enforcement, and interpretation of this Agreement as
applied by the MDL Court and the MN Court.

       Section 15.6 Headings

      The headings used herein are for reference only and shall not affect the construction of the
Wave Settlement.

       Section 15.7 Agreement May Be Executed In Counterparts

       The Wave Settlement may be executed in counterparts and taken together shall constitute
one and the same Wave Settlement.

       Section 15.8 Successors, Assigns & Binding Effect

        The Wave Settlement shall be binding on, and inure to the benefit of, the successors and
assigns of the Parties hereto. Nothing in the Wave Settlement, express or implied, is intended to
confer upon any person or entity other than the Parties hereto or their respective successors, heirs,
issue, and assigns, any rights or benefits under or by reason of the Wave Settlement. The Wave
Settlement shall not be assignable by any Party hereto without prior written consent of the other
Party or as otherwise expressly set forth in the Wave Settlement.

       Section 15.9 Amendment or Waiver

        The Wave Settlement shall not be modified in any respect, except by a writing executed by
all Parties to the Wave Settlement. The waiver of any rights conferred by the Wave Settlement
shall be effective only if made in writing by the waiving Party. The waiver by any Party of any
breach of the Wave Settlement shall not be deemed or construed as a waiver of any other breach,
whether prior to, subsequent to, or contemporaneous with the Wave Settlement.

       Section 15.10 Electronic Signatures

        Electronic signatures shall be accepted for execution of any settlement document required
of Wave Case Claimants or Wave Case Counsel. The Parties will work with the Settlement
Administrator and Settlement Special Master to ensure compliance with applicable standards and
protections.

       Section 15.11 Notice to CAE Claimants’ Counsel

       For any notice required to be provided under the Wave Settlement Agreement to Wave
Case Claimants’ or Wave Case Claimants’ Counsel, Defendants shall provide notice by overnight
mail and email to:

       Bryan F. Aylstock
       Aylstock, Witkin, Kreis
       & Overholtz, PLLC
       17 East Main Street, Suite 200

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       Pensacola, FL 32502
       baylstock@awkolaw.com

       Christopher A. Seeger
       Seeger Weiss LLP
       55 Challenger Road,
       Ridgefield Park, NJ 07660
       cseeger@seegerweiss.com

       Clayton A. Clark
       Clark, Love & Hutson, PLLC
       440 Louisiana Street, Suite 1700
       Houston, Texas 77002
       CClark@triallawfirm.com

       Section 15.12 Notice to Defendants or Defendants’ Counsel

      For any notice required to be provided under the Wave Settlement to Defendants,
Claimants’ Counsel shall provide notice by overnight mail and email to:

       Kevin H. Rhodes
       Executive Vice President and Chief Legal Affairs Officer
       Legal Affairs Department
       3M Company
       3M Center, 220-9E-01
       St. Paul, MN 55144-1000
       3MCAEnotices@mmm.com

       Thomas J. Perrelli
       Jenner & Block LLP
       1099 New York Avenue, N.W., Suite 900
       Washington, DC 20001-4412
       3MCAE@jenner.com

       Section 15.13 No Admission of Liability

        Neither the Wave Settlement, nor any exhibit, document, or instrument delivered
hereunder, nor any statement, transaction, or proceeding in connection with the negotiation,
execution, or implementation of the Wave Settlement, is intended to be or shall be construed as or
deemed to be evidence of an admission or concession by Defendants of any fault, liability,
wrongdoing, or damages, or of the truth of any allegations asserted by any plaintiff or claimant
against it, including by any Eligible Claimant or Derivative Claimant, or as an admission by any
Eligible Claimant or Derivative Claimant of any lack of merit in their CAE Claim.

       No Party or Wave Claimant shall seek to introduce and/or offer the terms of the Wave
Settlement, any statement, transaction, or proceeding in connection with the negotiation,
execution, execution, or implementation of the Wave Settlement, or any statements in the

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documents delivered in connection with the Wave Settlement, or otherwise rely on the terms of
the Wave Settlement, in any judicial proceeding, except insofar as necessary to enforce the terms
of the Wave Settlement or any instrument executed and delivered pursuant to the Wave Settlement,
or in connection with the determination of any income tax liability of a Party. If a person seeks to
introduce and/or offer any of the matters described herein in any proceeding against Defendants
or any of the Released Parties, the restrictions of this Section shall not be applicable to Defendants
with respect to that person.

       Section 15.14 Public Statements

        The Parties may, at their discretion, issue publicity, press releases, or other public
statements regarding the Wave Settlement, whether unilaterally or as jointly agreed to in writing
by all Parties. Any jointly agreed or other statement shall not limit Defendants’ ability to provide
information about the Wave Settlement to their employees, accountants, attorneys, insurers,
shareholders, investors, analysts, or other stakeholders or in accordance with legal requirements,
or limit any Party’s ability to provide notice or information about the Wave Settlement to Wave
Case Claimants or in accordance with legal requirements.

       Section 15.15 Confidentiality

        The parties shall keep confidential the content of the negotiations, points of discussion,
documents, communications, and supporting data utilized or prepared in connection with the
negotiations and settlement discussions taking place related to the MSA, the Verdicts Settlement
and the Wave Settlement. Nothing in those settlement agreements shall prevent Defendants from
disclosing such information to their insurers in the context of their coverage investigations.

       Section 15.16 No Illegal Activity or Fraud and Unethical Conduct

        Nothing in the Wave Settlement shall be interpreted to require any Party, any Eligible
Claimant, any CAE Counsel, or Defendants’ counsel to engage in any conduct that is a violation
of law and/or unethical under applicable ethical rules.




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         IN WITNESS WHEREOF, the Parties have executed the Wave Settlement as of the date
first set forth above.


                                         3M


                                         By: ________________________

                                         Kevin H. Rhodes
                                         Chief Legal Affairs Officer, 3M

                                         Aearo

                                         By: ________________________

                                         Kevin H. Rhodes, Authorized Representative
                                         Aearo Technologies LLC

                                         By: ________________________

                                         Thomas J. Perrelli
                                         Counsel for 3M


                                         Negotiating Plaintiffs’ Counsel

                                         By: ________________________

                                         Bryan F. Aylstock
                                         Counsel for Plaintiffs

                                         By: ________________________

                                         Chris Seeger
                                         Counsel for Plaintiffs

                                         By: ________________________

                                         Clayton A. Clark
                                         Counsel for Plaintiffs

                                         By: ________________________

                                         Daniel E. Gustafson
                                         Counsel for the MN Plaintiffs

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